Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 1 of 8




                Exhibit E
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 2 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 3 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 4 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 5 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 6 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 7 of 8
Case 11-33448   Doc 41-5   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  E Page 8 of 8
